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 1   Kevin P. Rooney, #107554
     Of Counsel, HAMMERSCHMIDT LAW CORPORATION
 2   2445 Capitol Street, Suite 150
     Fresno, CA 93721
     Tel: (559) 233-5333
 3   Fax: (559) 233-4333
 4   Attorney for Defendant, OSCAR MARROT GARCIA
 5

 6                        IN THE UNITED STATES DISTRICT COURT FOR THE
 7                                 EASTERN DISTRICT OF CALIFORNIA
 8
                                                        )
 9   UNITED STATES OF AMERICA,                          ) Case No.: 1:19 CR 72 LJO
                                                        )
10                    Plaintiff,                        ) Stipulation and Order To Modify PreTrial
                                                        ) Release Order
11            vs.                                       )
                                                        )
12   OSCAR MARROT GARCIA,                               )
                                                        )
13                    Defendant.                        )
                                                        )
14                                                      )
                                                        )
15

16
           The parties to this action, through their undersigned counsel, hereby stipulate as follows:
17
           1. The April 2, 2019 Order Setting Conditions of Release for Mr. Marrot Garcia (executed by
18
     District Judge Drozd in Case No. 1:19 MJ 56) should be modified to the following extent:
19

20            The Home Detention condition in paragraph 7(n) will be stricken and replaced with the

21         following condition: “CURFEW: You must remain inside your residence every day from
           8:00 p.m. to 8:00 a.m., or as adjusted by the Pretrial Services Officer for medical, religious
22
           services, employment, or court-ordered obligations.”
23

24   ///

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     ///
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        2. The stipulation between the parties is not intended to modify the April 2, 2019 Order
 1
     Setting Conditions of Release in any way other than to substitute the Curfew condition for the
 2
     previous Home Detention condition.
 3
            It is so stipulated.
 4

 5   Dated: July 17, 2019                                  Dated: July 17, 2019
     McGregor W. Scott,
 6
     United States Attorney, by
 7

 8

 9   /s/ Brian W. Enos___________                          /s/ Kevin P. Rooney___________
     BRIAN W. ENOS                                         KEVIN P. ROONEY
10   Assistant United States Attorney                      Attorney for defendant
                                                           OSCAR MARROT GARCIA
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13

14                                                 ORDER
15   It is hereby ORDERED, that Mr. Marrot Garcia’s Conditions of Release are modified at
16   paragraph 7(n) to eliminate the condition of Home Detention and replace that condition with the
17   following:

18          “CURFEW: You must remain inside your residence every day from 8:00 p.m. to
             8:00 a.m., or as adjusted by the Pretrial Services Officer for medical, religious services,
19          employment, or court-ordered obligations.”
20
     All other terms and conditions of the previous Order regarding Mr. Marrot Garcia’s Conditions
21
     of Release remain in full force and effect.
22
     IT IS SO ORDERED.
23

24      Dated:     July 19, 2019                               /s/
                                                          UNITED STATES MAGISTRATE JUDGE
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